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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 Talia N. Harrison,                             §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §        Civil Action No. 4:21-cv-607-ALM
                                                §
 Tyler Technologies, Inc.                       §
                                                §
        Defendant.                              §

UNOPPOSED MOTION FOR LEAVE TO FILE BRIEF IN EXCESS OF PAGE LIMITS

       On April 20, 2023, Plaintiff filed her Reply in Support of Plaintiff’s Motion for Award of

Attorneys’ Fees and Costs. (ECF No. 50.)

       Unfortunately, I (local counsel) failed to check that the brief sent to me by lead counsel

complied with the page limits established by Local Rule before filing the document, and the brief

exceeded page limits. Further, in the PDF conversion process, the document was formatted

incorrectly and is now fixed to be compliant with the Local Rules that documents be 12-point font

double spaced (this actually increased the page number relative to the brief). I understand there

has been some late game non-compliance with local rules as we are wrapping up this case and I

personally apologize for the inconvenience to the Court in this regard.

       I reviewed the brief to see what fat could be trimmed and managed to get it to ten pages.

However, the issues raised in Defendant’s Response in opposition to Plaintiff’s Motion for Award

of Attorneys’ Fees and Costs are technical issues that need to be addressed individually. This

requires relevant discussion, citations to law and record, and Plaintiff’s counsel have even

conceded certain billable entries in recognition that the Court should not be made to do a line-by-

line analysis of billing records where Plaintiff’s counsel can be reasonable. This takes some pages.
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       I conferred with counsel for Defendant regarding this oversight, and defense counsel very

graciously understood that the five pages allotted by Local Rule probably would not be enough to

cover these issues and has agreed not to oppose Plaintiff’s request for excess pages.

       Accordingly, Plaintiff respectfully requests relief from Local Rules regarding page limits

to file the brief attached hereto as Exhibit A. A proposed order granting that relief is

contemporaneously filed.



Dated: April 21, 2023                        Respectfully submitted,

                                             By:     s/Melinda Arbuckle
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                                             Counsel for Plaintiff Talia N. Harrison


                             CERTIFICATE OF CONFERENCE

      I conferred with defense counsel on April 21, 2023, regarding the relief requested in this
Motion. Defense counsel confirmed that Defendant is unopposed to this Motion.

                                                     s/Melinda Arbuckle
                                                     Melinda Arbuckle


                                CERTIFICATE OF SERVICE

        On April 21, 2023, I filed the foregoing document with the Clerk of Court for the Eastern
District of Texas using the CM/ECF system of the Court. I certify that all counsel of record were
served electronically thereby.

                                                     s/Melinda Arbuckle
                                                     Melinda Arbuckle
